                                        Certificate Number: 13861-OR-DE-035467416
                                        Bankruptcy Case Number: 20-33477


                                                      13861-OR-DE-035467416




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on March 16, 2021, at 5:51 o'clock PM PDT, Elizabeth L
Mackenzie completed a course on personal financial management given by
internet by Evergreen Financial Counseling, a provider approved pursuant to 11
U.S.C. 111 to provide an instructional course concerning personal financial
management in the District of Oregon.




Date:   March 16, 2021                  By:      /s/Rebecca K Snyder


                                        Name: Rebecca K Snyder


                                        Title:   Counselor




                   Case 20-33477-dwh7   Doc 37     Filed 03/16/21
